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                  EXHIBIT 4
(Exhibit to Strzok’s June 15, 2022 Notice of
          Supplemental Discovery)
                                      Case 1:22-mc-00027-ABJ Document 21-2 Filed 06/15/22 Page 2 of 2
DOJ Privilege Log                                     Strzok v. Garland , No. 19‐2367 (D.D.C.)                                                          Rev. 3/31/2022
                                                           Page v. DOJ , 19‐3675 (D.D.C.)


                                                                                                                        Draft response to December 28, 2017 letter from
                                                                    Nunes                                               Chairman Devin Nunes regarding DOJ's responses to
                        Hur, Robert                                 Letter_01032018_v                 DP ‐ Deliberative congressional requests. Draft reflects non‐final
  40   Schools, Scott   (ODAG)                                      4 (RKH EDITS).docx     1/3/2018   Process           deliberations informing DOJ's final response.

                                                                                                                        Outline prepared by Associate Deputy Attorney
                                                                                                                        General Scott Schools in advance of briefing the
                                                                                                                        President regarding contents of the Inspector
                                                                                                                        General's June 14, 2018 report titled "Review of
                                                                                                                        Various Actions by the Federal Bureau of
                                                                                                                        Investigation and Department of Justice in Advance
                                                                                                                        of the 2016 Election." Document reflects non‐final
                        Schools, Scott                              POTUS                             DP ‐ Deliberative deliberations regarding the contents of the final
  41   Schools, Scott   (ODAG)                                      briefing.docx         6/14/2018   Process; PCP      briefing.



                                                                                                                        Draft response to December 28, 2017 letter from
                                                                                                                        Chairman Devin Nunes regarding DOJ's responses to
                                                                                                      AC ‐ Attorney     congressional requests. Draft reflects non‐final
                                                                                                      Client Privilege; deliberations informing DOJ's final response. Draft
                        Schools, Scott                              Nunes                             DP ‐ Deliberative shared with OLC for legal advice regarding
  42   Schools, Scott   (ODAG)                                      letter.v2.docx         1/2/2018   Process           accommodation process with Congress.



                                                                                                                        Draft response to December 28, 2017 letter from
                                                                                                                        Chairman Devin Nunes regarding DOJ's responses to
                        Schools, Scott                              2018‐01‐03 DAG to                 DP ‐ Deliberative congressional requests. Draft reflects non‐final
  43   Schools, Scott   (ODAG)                                      Nunes.sns.docx         1/3/2018   Process           deliberations informing DOJ's final response.



                                                                    2018‐01‐17 Text                                     Draft response to request from Chairman Goodlatte
                                                                    message letter_dfl                                  that DOJ provide text messages exchanged between
                        Boyd, Stephen E                             edits_RH edits ‐ SB               DP ‐ Deliberative Mr. Strzok and Ms. Page. Draft reflects non‐final
  44   Schools, Scott   (OLA)                                       edits.docx            1/19/2018   Process           deliberations informing DOJ's final response.




                                                                    2018‐01‐17 Text                                     Draft response to request from Chairman Goodlatte
                                                                    message letter_dfl                                  that DOJ provide text messages exchanged between
                        Boyd, Stephen E                             edits_RH edits ‐ SB               DP ‐ Deliberative Mr. Strzok and Ms. Page. Draft reflects non‐final
  45   Schools, Scott   (OLA)                                       edits.sns.docx        1/19/2018   Process           deliberations informing DOJ's final response.




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